 Case 8:21-cv-01504-CEH-JSS Document 1 Filed 06/22/21 Page 1 of 9 PageID 1




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

BRIAN LAMPLUGH, Individually
and on behalf of others similarly situated,

      Plaintiff,
v.

IERNA’S HEATING & COOLING, INC.

      Defendant.
                                      /

                   COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, BRIAN LAMPLUGH, individually and on behalf of others

similarly situated, (hereinafter referred to as “PLAINTIFF”) pursuant to the Fair

Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (“FLSA”), by and

through his undersigned counsel and sues the Defendant, IERNA’S HEATING &

COOLING, INC., (hereinafter known as “DEFENDANT”) and alleges as follows:

                         JURISDICTION AND VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and

1441(b).

      2.     Venue lies within the United States District Court for the Middle

District of Florida, Tampa Division because a substantial part of the events giving


                                          1
 Case 8:21-cv-01504-CEH-JSS Document 1 Filed 06/22/21 Page 2 of 9 PageID 2




rise to this claim occurred in this Judicial District and is therefore proper pursuant

to 28 U.S.C. § 1391(b).

                                     PARTIES

      3.     At all times material herein, Plaintiff was and is a resident of

Hernando County, Florida.

      4.     Defendant is a Florida profit corporation licensed and authorized to

conduct business in the State of Florida and doing business within Pasco County.

At all times material Defendant was an employer as defined by the FLSA.

      5.     At all times material herein, Plaintiff was an employee of Defendant

pursuant to 29 U.S.C. § 203(e)(l), Defendant was Plaintiff’s employer within the

meaning of 29 U.S.C. § 203(d), and Defendant employed Plaintiff within the

meaning of 29 U.S.C. § 203(g).

                           GENERAL ALLEGATIONS

      6.     At all times material, Defendant willfully violated the Fair Labor

 Standards Act (“FLSA”).

      7.     Defendant is an “enterprise” as defined by 29 U.S.C. § 203(s)(l)(A) in

that it (a) has employees engaged in commerce or has employees handling, selling,

or otherwise working on goods or materials that have been moved in or produced

for commerce, or (b) has an annual gross volume of sales made or business done

                                          2
 Case 8:21-cv-01504-CEH-JSS Document 1 Filed 06/22/21 Page 3 of 9 PageID 3




that is not less than $500,000.00.

       8.    Alternatively, Plaintiff is covered as an individual under the FLSA

because Plaintiff engaged in interstate commerce as part of his job with Defendant,

29 U.S.C. §207(a)(1).

       9.    Plaintiff has retained the undersigned counsel to represent his interest

in this action and is obligated to pay them a reasonable fee for their services.

                                       FACTS

       10.   Plaintiff began his employment with Defendant in August 2020 as an

installer.

       11.   Plaintiff was paid on an hourly rate basis.

       12.   Plaintiff was required to clock out after completing his last job and

then return the company truck to Defendant’s headquarters.

       13.   Plaintiff was not compensated for the drive time to return the

company truck to Defendant’s headquarters.

       14.   Plaintiff would routinely work through his lunch and not get paid for

the time worked.

       15.   When Plaintiff would work over forty (40) hours, his boss Tim

McElroy, would access the ADP app and reduce Plaintiff’s hours so he would not

receive time and one half pay.




                                          3
 Case 8:21-cv-01504-CEH-JSS Document 1 Filed 06/22/21 Page 4 of 9 PageID 4




      16.    Plaintiff regularly and routinely worked over forty (40) hours in a

work week.

      17.    Plaintiff was not paid time and a one-half his regular hourly rate for

each and every hour that he worked in excess of forty (40) hours in a work week

for all weeks that he worked.

                             COUNT I
            FAIR LABOR STANDARDS ACT (UNPAID OVERTIME)

      18.    Plaintiff re-alleges and adopts, as if fully set forth herein, the

allegations stated in Paragraphs one (1) through seventeen (17).

      19.    Defendant is subject to the requirements of the Fair Labor Standards

Act (“FLSA”), as amended, 29 U.S.C. § 216(b).

      20.    Throughout his employment with Defendant, Plaintiff worked in

excess of forty (40) hours per week, for which he was not compensated at the

overtime rate.

      21.    Plaintiff estimates that he worked an average of three to five overtime

hours per week. Defendant failed to comply with their statutory obligation to

keep accurate time records.

      22.    The FLSA requires each covered employer such as Defendant to

compensate all non-exempt employees, such as Plaintiff, at a rate of not less than

1 ½ times their regular rate of pay for all work performed in excess of forty (40)

hours in a work week.
                                           4
 Case 8:21-cv-01504-CEH-JSS Document 1 Filed 06/22/21 Page 5 of 9 PageID 5




      23.   Plaintiff is entitled to be paid overtime compensation for all overtime

hours worked for Defendant.

      24.   Defendant’s failure to pay Plaintiff overtime at a rate not less than 1

½ times the regular rate of pay for work performed in excess of forty (40) hours in

a work week, violates the FLSA, 29 U.S.C. §§201 et seq., including 29 U.S.C. § 207.

      25.   Defendant knew or had reason to know that Plaintiff performed work

in excess of forty (40) hours per work week.

      26.   Defendant’s violations of the FLSA was intentional and willful and in

reckless disregard of the rights of Plaintiff. Defendant knew that it’s conduct was

prohibited by the FLSA and/or showed reckless disregard about whether it was.

      27.   As a direct result of Defendant’s violations of the FLSA, Plaintiff

suffered damages by being denied overtime wages in accordance with § 207 and

§ 216(b) of the FLSA and has incurred reasonable attorneys’ fees and costs.

      28.   As a result of Defendant’s violations of the FLSA, Plaintiff is entitled

liquidated damages.

      29.   Plaintiff is entitled to an award of reasonable attorneys’ fees and costs

pursuant to 29 U.S.C. § 216(b).

      WHEREFORE, Plaintiff respectfully requests that judgment be entered in

his favor against Defendant including, but not limited to:

      a.    Awarding Plaintiff overtime compensation in the amount due to him

                                         5
 Case 8:21-cv-01504-CEH-JSS Document 1 Filed 06/22/21 Page 6 of 9 PageID 6




for the time worked in excess of forty (40) hours per work week as allowable under

the FLSA statute of limitations period;

      b.     Awarding Plaintiff liquidated damages in an amount equal to the

overtime award;

      c.     Awarding prejudgment interest;

      d.     Awarding reasonable attorneys’ fees and costs and expenses of the

litigation pursuant to 29 U.S.C. §216(b);

      e.     Determining that the FLSA was violated and an adjudication on the

merits of the case;

      f.     Ordering any other further relief the Court deems just and proper.

                              COUNT II
            FAIR LABOR STANDARDS ACT - UNPAID OVERTIME
                        (COLLECTIVE ACTION)

      30.    Plaintiff re-alleges and adopts, as if fully set forth herein, the

allegations stated in Paragraphs one (1) through seventeen (17).

      31.    At all times material, Defendant employed numerous individuals

who were paid in a similar manner to Plaintiff. Such individuals were similarly

situated to Plaintiff with respect to the terms and conditions of their employment.

      32.    Throughout their employment, individuals similarly situated to

Plaintiff were required to work and did work a substantial number of hours in

excess of forty (40) hours per work week.


                                            6
 Case 8:21-cv-01504-CEH-JSS Document 1 Filed 06/22/21 Page 7 of 9 PageID 7




      33.     At all times material, Defendant failed to comply with 29 U.S.C. § 201,

et seq., in that individuals similarly situated to Plaintiff worked for Defendant in

excess of the maximum hours provided by law, but no provision was made by

Defendant to compensate such individuals at the rate of time and one-half for

hours worked in excess of forty (40).

      34.     Defendant’s failure to pay such similarly situated individuals the

required overtime pay was intentional and willful.

      35.     As a direct and legal consequence of Defendant’s unlawful acts,

individuals similarly situated to Plaintiff have suffered damages and have

incurred, or will incur, costs and attorneys’ fees in the prosecution of this matter.

      WHEREFORE, Plaintiff individually and on behalf of others similarly

situated, respectfully requests all legal and equitable relief allowed by law,

including judgment against Defendant for overtime compensation, liquidated

damages, prejudgment interest, payment of reasonable attorneys’ fees and costs

incurred in the prosecution of this claim and such other relief as the Court may

deem just and proper.

                              COUNT III
            FLORIDA STATUTE CHAPTER 448.08 - UNPAID WAGES

      36.     Plaintiff re-alleges and adopts, as if fully set forth herein, the

allegations stated in Paragraphs one (1) through seventeen (17).



                                            7
 Case 8:21-cv-01504-CEH-JSS Document 1 Filed 06/22/21 Page 8 of 9 PageID 8




      37    Plaintiff earned wages and commissions over the course of his

employment which are owed and payable by the Defendant pursuant to Florida

Statute Chapter 448.08.

      38.   Plaintiff’s claim is for all uncompensated hours worked by Plaintiff

that were not overtime hours.

      39.   Defendant, despite Plaintiff’s reasonable attempts to obtain payment

of these earned monies, has failed and refused to make payment as required by

Florida Statute Chapter 448.08.

      WHEREFORE, Plaintiff respectfully requests all legal and equitable relief

allowed by law including judgment against Defendant for back pay, unpaid

wages, liquidated damages, prejudgment interest, payment of reasonable

attorneys’ fees and costs incurred in the prosecution of the claim and such other

relief as the Court may deem just and proper.

Dated this 22nd day of June 2021.

                                     FLORIN GRAY BOUZAS OWENS, LLC

                                     /s/Christopher D. Gray
                                     Christopher D. Gray
                                     Florida Bar No.: 902004
                                     cgray@fgbolaw.com
                                     Hunter A. Higdon
                                     Florida Bar No.: 85963
                                     hhigdon@fgbolaw.com
                                     16524 Pointe Village Drive, Suite 100
                                     Lutz, FL 33558
                                     Telephone (727) 254-5255
                                        8
Case 8:21-cv-01504-CEH-JSS Document 1 Filed 06/22/21 Page 9 of 9 PageID 9




                                 Facsimile (727) 483-7942
                                 Attorneys for Plaintiff




                                    9
